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                                    IGN " SportS" Wrestling
     SECTIONS
       . Football
                                    WWE Day of Reckoning 2
                                    Enhanced play mechanics, a deeper story mode, updated graphics and
       . Basketball
                                    more wrestlers. Hands-on impressions, plus first screenshots and
        . Baseball
                                    movies.
       . Boxing                    by Matt Casamassina
       . Hockey
                                   Apri/1, 2005 - Last year, publishing giant THQ made some changes. The company
       . Wrestlng                  moved the WWE WrestleMania franchise, which had for years remained exclusive to
       . Other                     Nintendo's console, to Microsoft's Xbox. GameCube owners barely had a chance to react
       . Play of the Day           before news hit that a fresh take on the entertainment of wrestling would debut on
                                   Nintendo's system in the other's place. WWE Day of Reckoning was born. The title,
       . News
                                   developed by Japanese studio Yuke's, responsible for all of GameCube's WrestleMania
       . Mailbag                   efforts, explored the medium from a new angle. In the title's simple, but enjoyable story
       . Message Boards            mode, players created a wrestler from scratch and started at the very bottom, taking part
                                   in throwaway matches against no-talents, and gradually working their way through the
     CHANNELS                      ranks in the WWE, into the spotlight, and ultmately to the top of the food chain to become
                                   champion.
       Insider Members
       . Insider Channel           Day of Reckoning was well received by fans and critics alike, due in large to the title's                      Latest Sport
                                                                                                                                                          . .... .. Pre'
                                                                                                                                                                    .....
       . Hi-Res Movies             pick-up-and-play control mechanics, a decent selection of superstars, divas, and venues,                           MLB 2K6: New Mo
                                   a fun story mode, and a deep create-a-wrestler feature. Without doubt, the fundamentals                            Madden 360: Impr.
       - Strategy Guides           were in place, and they worked. But the title was not without shortcomings. As intuitive as
       . Join Insider              the game's grappling system proved to be, the control configuration lent itself to button                          Tiger Woods PGA
                                   mashing, which turned some hardcore wre.~tIng game fans off. Meanwhile, the story                                  New NHL 06 Hand
       . Founders' Club
                                   mode was positively shallow compared. to some other wrestlng projects on the market.                               NASCAR 2006: To
       Games                       And sure enough, some critics complained that the title looked less realistic than its                             NBA live Superst.
       -PC Games                   counterparts.                                                                                                      Tiger Woods 06: T
       . PlayStation 2
                                   The 20-something team at Yuke's and the creative gurus at THQ combed the message                                   Hands-On with NH
       . PlayStation 3             boards, compiled a list of what worked and what didn't, and ran with it. The result is WWE                         Fight Night Round
       . Sony PSP                  Day of Reckoning 2, the aptly named sequel to last year's game. DOR 2, which has been                              E3 2005: And 1 Sti
       . Xbox                      in development ever since the first shipped, is a true sequel in every sense. It doesn't
                                   dismiss the mechanics of its predecessor for all new ones, but rather builds on top of                             E3 2005: Gretzky (
       . Xbox 360                  them, enabling a bigger, meatier product on all fronts.                                                            E3 2005: NBA 2K6
       . GameCube                                                                                                                                     E3 2005: Tiger Wo
                                   If all goes as planned, Day of Reckoning will be, to use associate creative manager Matt
       . Revolution                                                                                                                                   E3 2005: Madden i
                                   Greig's own words, "the definitive GameCube product for WWE." He explains further:
       . Nintendo OS               "What we mean by that is that it's a superset of everything that came before on                                    E3 2005: NCAA Fo
       . Game Boy                  GameCube. We're not taking anything out. We're using Day of Reckoning as a starting
       . Wireless                  point and building in features from previous games, and adding new stuff that we
                                   prototyped and realized would work welL. We're looking at it as a collector's edition.
       . N-Gage                    Obviously, GameCube is nearing the end of its Iifecycle so we're trying to put something
       - PlayStation               out there that wil stand the test of time for several years to come."
       .N64
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     IGN Services
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     . User     Pages
     . My Collection          Kane shows his teeth. More polygons means that Yuke's can create realistic expressions on the wresÜ;'
                                                                            inOOR2
     . MyWishlist
     . Newswire              No easy goal, to be sure, but the team at Yuke's believes it has the right priorities in mind
     . Free     Email        and that it knows where to start, which, as it turns out, is exactly where the last game left
                             off. By the time garners bested the original title, they had advanced from the wrestlng
     . Chat                  slums to superstardom. Day of Reckoning 2 continues from exactly that point. It's in the
     . My     Account        same universe. And it acknowledges all of the events that transpired in the first tiUe. "It's
                             not a sequel just in name," explains Greig. "It continues on with the story. There are actual
   GET      GAMES            ties in content. You're already a champion. You won the storyline in the first game, 'so
     Oirect20rive            you're starting out as a champion. This gives us a lot of opportunities to explore how we
                             can advance the story when players are already starting as a successful WWE character.
     Compare Prices          And this is actually something we haven't done before."
     . PS2 Games
     . Xbox Games
                             The Full Story
                            Aiding that goal is the first of what THQ identified as three major priorities when it sat
     . Cube Games           down to develop this sequel: a more ambitious story mode. For the first time ever, the
     - PC Games             team enlisted the help of Smackdown's writers in order to craft a tale that would not only
     . GBAGames             prove compellng enough to grab players from beginning to end, but also display a fair
                            amount of foresight. 'That is not something that previous games have the access to,"
   PARTNERS                 explains Greig. "But (the Smackdown writers) are getting more and more involved with the
                            authenticity, and also with being current -- not necessarily what's happening now, but what
     . Dream Crib           will be happening six months from now." The idea is to present a storyline that wil be up-
     . Career Channel by    to-date and relevant when the game ships, which is a rare commodity for the wrestlng
     Full     Sail          genre.
     . IGN Swag from
     Jinx.com                In contrast to a copy and paste of the usual wrestling theme, which is simply to win the
                             belt, THQ wanted to do something different with the storyline in Day of Reckoning 2,
                             according to Greig. Obviously, belts wil playa part in the tale. That's the way these games
                            have always been set up, and it's what fans want. But Yuke's wil also present players
                            sub-stories with branching pathways. "There are other themes that we haven't explored.
                            There are the storylines where there are the two superstars, the heel and the face, who
                            are arguing over the diva. There are the storylines where one superstar has betrayed his
                            former friend and one of them has become a heel and the other a face:' says Greig. "It's
                            not all about getting the belt. The belt may be in the background. There may be a belt
                            contest throughout the story, but that isn't the focus. Players are actually focusing on
                            interpersonal relationships between the superstars:
                             There wil be certain points where the storyline wil offer branching pathways based on the
                            decisions of players. For instance, wrestlers may be asked to turn heel for a number of
                            matches. Branches wil be organized based on choices made both in the interface and
                            during gameplay. .
                            Sadly, there will not be a wealth of full-motïon video sequences in support of the storyline.
                            Greig confirmed that, "it's just not going to happen because of the size of the GameCube
                            disc." For that reason, all of the story elements will transpire in-game by way of real-time



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IGN: WW.E Day of           Reckoning 2                                                                                                               Page 3 of3
                                 Superstars and Legends
                                 The original Day of Reckoning included some 40 wrestlers. a mix of superstars, legends
                                 and divas. The sequel wil feature approximately 45, most of them returning, with a
                                 handful of anticipated additions. Greig was hush on specifics, but we do know from
                                 movies and offcially released documentation on the game that it wil boast such
                                 superstars as Booker T, Kane, Triple H, Batista, and Chris Benoit. Some of the new
                                 legends in the game include \:l-!k.Hog¡in, Mankind and yes - IGNcube readers voted for
                                 him and they got him -- The Ultimate Warrior. THO is stil deciding on whether or not to up
                                 the count on divas in the game. Here's hoping that it does, as the omission of a few key
                                 beauties was a common complaint of last year's effort.
                                 Less Mashing, More Strategizing
                                 Developer Yuke's has not mucked with the control or gameplay mechanics in Day of
                                 Reckoning 2. The title more or less plays exactly like its predecessor, right down to the
                                 grappling system backbone. But enhancements have been introduced all the same_
                                The second of THQ's three prioiities for the sequel was to address complaints that the first
                                was too heavy on button mashing. The publisherfdeveloper duo came up with the idea to
                                inject both added control and strategy.into the areas that lacked it before, and thus lesson
                                or altogether eliminate the element of chance, or luck. "Every situation in the game that
                                had button tnashing before has been revamped,. notes Greig. 'There is no more button
                                mashing in the game. That's not to say there is no need for reflexes anymore because
                                that's certainly not the case. But we tiied to add layers of strategy and decision. Count
                                outs, pins - there are different systems governing all of those interactions now." Grapples
                                and stnkes are stil handled in the same manner, but new stamina and submission
                                systems complement the action.
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     SECTIONS
       . Football
                                  WWE Day of Reckoning 2
                                  -:-: Previous Page 11 I 2
       . Basketball
       . Baseball                 Day of Reckoning 2 uses an advanced stamina system that goes hand-in-hand with in-
                                  match strategies. As per usual, an on-screen bar measures a wrestlets stamina; when it's
       . Boxing                   full, they are reanng to go and when it's empty, they hunch over and tend to tire after a
       . Hockey                   single offensive move. The difference is that gamers don't have to sit still to recover their
       . Wrestling                stamina. They can fill up their wrestler's bar using a number of different play methods,
                                  many of which tie into the submission system.
       . Other
       . Play of the Day          'We're using it strictly to give players options. Our stamina system is not very restricted,"
       .   News                   says Greig. "We want players to be thinking throughout matches. 'Do I want to go all out?
                                  Do I want to go on the offensive? Unleash a series of stnkes and grapples and try to get
       . Mailbag                  this guy down quickly? Or do I want to hold back and let him do that, wear him out, and
       . Message Boards           then I can go on the attack? Or is my stamina really low right now? Maybe I should be the
                                  one thinking about how to get it back up: All these types of decisions."
     CHANNELS
                                  The submission system has perhaps seen the biggest overhauL. In previous games, as
       Insider Members            soon as players performed a submission, user options were niL. Now, garners can perform                           Latest          Sports Pre'
       . Insider Channel          several types of submission holds. There are rest, humilation and show off holds. Once a                           .... ._..._...__ _ .....__~. ~..... _.H

                                  hold begins, players with the C-stick have the chance to strategize, which may result in a                         MLB 2K6: New Mo
       . Hi-Res Movies
                                  win, the gain of stamina, or, quite possibly, the depletion of stamina and an opening for                          Madden 360: Impr,
       . Strategy Guides
                                  the opposing player.                                                                                               Tiger Woods PGA
       . Join Insider
                                  "To use SSX terminology, we're letting players tweak the submissions. So once you have                             New NHl 06 Hand
       . Founders' Club
                                  a submission hold, you have options," explains Greig. "If you want to try and end a match                          NASCAR 2006: To
       Games                      nght there, you go into a power submission. You hold the C-stick up to do that and that wil                        NBA live Superst
       . PC Games                 be your maximum chance to try and end the match. At the same time, you're expending                                Tiger Woods 06: T
       . PlayStation 2            stamina, so you're taking a risk. If you don't end the match at that point, you've depleted a
                                                                                                                                                     Hands-On with NH
                                  lot of your stamina and that's going to put you at a disadvantage."
       . PlayStation 3                                                                                                                               Fight Night Round
       . Sony PSP                                                                                                                                    E3 2005: And 1 Sti
       . Xbox                                                                                                                                        E3 2005: Gretzky (
       . Xbox 360                                                                                                                                    E3 2005: NBA 2K6
       . GameCube                                                                                                                                    E3 2005: Tiger Wo
       . Revolution                                                                                                                                  E3 2005: Madden I
       . Nintendo DS                                                                                                                                 E3 2005: NCAA Fa
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       . My Collection             Triple H honestly looks dazed and confused. And don't miss the new crowd design in the background.
       - My Wishlist             THQ is stil working out the details on the defender's side, but during submissions boxes
       . Newswire                pop up on the screen, each representing a player; the challenge is to guess what the other
       . Free Email              player is going to do. A successful guess will break the submission. An unsuccessful
       .
                                 guess will keep it held.
         Chat
       . My     Accunt          "This is all controlled in real-time by the C-stick. It's not a non-interactive sequence. And,
                                although we haven't quite nailed it down yet. the defender wil be also be doing something,
     GET      GAMES             probably with the C-stick, to respond to what the attacker is doing. We're really excited
       Oirect20rive             about. It's something totally different that we haven't done before: says Greig.
       Compare Prices           Presentation is Everything
       . PS2 Games              THQ's third pnority for the DaR 2 was to deliver a new visual style. For this year's game,
                                Yuke's has made some dramatic visual improvements that are sure to please "V.ces.tIng
       . Xbox Games
                                punsts and presentation tarts alike. For starters, load times are speedier than ever before.
       . Cube Games             Nothing takes more than five seconds to load, according to Greig, and that includes
       .PCGames                 transitions from menus to matches. 'Meanwhile, the developer has actually cut back on an
       . GBAGames               overbeanng interface and too many heads up display indicators in an effort to make the
                                wrestlng universe look and feel that much more realistic. The menu system is therefore
    PARTNERS                    mocked up to look like a wrestlng environment.
       . Dream Crib             In-game matches show off a number of immediately noticeable enhancements. The
       . Career Channel by      crowds, formerly sprite-based, repetitive, and jarringly out of place in contrast to the
       FullSail                 otherwise 3D nature of the game, have been upgraded. Now they -- like the wrestlers --
                                are polygonal, and more smoothly animated. The result is more believable environment
       . IGN Swag from
                                that is particularly impressive during wrestler entrances, which have also seen big
       Jinx.com
                                improvements in cinematic style.
                                The wrestlers are constructed using thirty percent more polygons, according to Greig.
                                Most of the extra geometry has gone to develop more flexible wrestler faces, which now
                                show off eerily realistic teeth and animate appropriately during matches. For instance, if
                                Kane is about to lay down the pain, he looks menacíng, his mouth open in a snarL.
                                Oppositely, if Benoit takes one to the face, his eyes appear to roll back and he actually
                                looks dazed. Really, the game boasts some of the best face models we've seen in any
                                wrestler to date.
                                Crisper texture work has also enabled Yuke's to deliver a higher level of definition on
                                models, which is clear when they are shown up close without any blurring.
                                In addition, a more robust particle effects engine allows the studio to implement more
                                realistic sweat and blood splatters, and on top of that. new and improved pyrotechnics
                                with impressive, bloom-like lighting. During play. we could actually see sweat spray off the
                                faces of wrestlers after a hard, head-turning smack. Of course, the models themselves
                                show off real-time lights and cast believable shadows onto the mat.
                                Finally, Yuke's has reworked the animation pipeline for superior results. "Last year, we


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IGN: WVýE Day of           Reckoning 2                                                                                                                      Page 3 of3
                                animation: says .0. èig. "This year, all of the cinematics are motion c~Ptured, so there is
                                no going back and forth between hand and motion captured animation." The result is
                                movement that not only looks to have more realistic momentum and weight, but also
                                blends more seamlessly than ever before.
                                Yuke's is apparently stil exploring the possibilties of incorporating progressive scan and
                                16x9 widescreen modes into the game, but for now both options are still up in the air. The
                                same goes for Dolby Pro Logic II support.
                                THQ has yet to determine (or, at least offcially announce) the game's soundtrack, but we
                                do know for sure that it likely won't use a compilation of popular rock and hip-hop songs,
                                as the first did. There's talk of incorporating original music into the title, or possibly using
                                lesser-known songs from recognizable bands.

                                \fF; Day of Reckoning 2, which isn't set to release for GameCube until this fall, is stil
                                very early on. The title remains in a pre-alpha state. In fact, only two characters, Booker T
                                and Kane, were demoed during our play test with the tile. Stil, even for an early work, the
                                game already effectively shows that it is a true sequel to the first, building on a foundation
                                of tried-and-true mechanics. We found ourselves excited about the added layers of depth
                                added to the experience, as well as the visual enhancements. Based on our time with the
                                title so far and the implementations yet to be made, we can't think of a single reason why
                                Day of Reckoning 2 won't deliver exactly what THQ promises: the definitive WWE
                                experience for GameCube owners.
                                Stay tuned for much more on the game in the coming days, weeks and months. Readers
                                can satisfy their hunger for media on the title by clicking on the images and videos links
                                below, where we have uploaded the first-ever ¡n-game DOR 2 screenshots and direct-feed
                                videos.
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    l~§.,?_G.9n:ep .                               movie trailers (or all of them):
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                                 Warrior Out of Smackdown
                                 THQ withdraws confirmation of popular legends superstar.
       . Mailbag                 bylGNPS2
       . Editors' Choice
       . Release Oates
                                 August 19, 2003 -In a
                                 statement that's sure to
       . Hardware                disappoint a legion of 80s
       . Guides                  wrestlng fans, THO has
       . Cheats                  offcially withdrawn ils
                                 confirmation that the Ultimate
       'FAQs                     Warnor wil be in the
       . Message Boards          upcoming WWE Smackdown!
       . Compare Prices          Here Comes the Pain
                                 videogame. Though THO had
    CHANNELS                     onginally confirmed with us
                                 yesterday that he would be in
       Insider Members           the game for our roster update
       . tnsider Channel         artcle, representatives for the
       . Hi-Res Movies           company have since
                                 contracted fueir statement.
       . Strategy Guides
       . Join Insider            "Yeah, it was definitely    a
       . Founders' Club          mistake on our end", said the
                                 THO representative. "We
       Games                     thought that the negotiations
       'PCGames                  had been nailed down but it turns out that they weren't. In fact, it looks as though the
       . PlayStation 2           Warrior wil be going his own separate way and wil not appear as a legend inWWE
                                 Smackdown at all. ..
       . PlayStation 3
       - SonyPSP                 News of the Warriors loss marks the second such blow for Here Comes the Pain in just
      -Xbox                      under a month_ Originally shown to the European press in PAL builds on the other side of
                                 the Atlantic, Hulk Hogan was also removed from the game's legend roster for similar failed
      'Xbox360                   negotiations.
      . GameCube


       . Revolution              IGN wii keep you updated with more as it becomes available.
       . Nintendo OS             Interested in this game? Add it to your wishlist. If you already own it, be sure to add it
       . Game    Boy             to your  collection. You can keep track of the games you've got, check personalized
      . Wireless                 stats, get tips and cheats by email, and more.
                                                                          Game Details for WWE SmackOownl Here Comes the
      . N-Gage
                                                                          Pain
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      -Music                                                                                                                  T-"-'Wnte a Re~iew
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      . Comics

       -Gear
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      - Sport
      . Cars                                                                                                                    Published by: THe
                                                                                                                                Developed by: Yu~
      . Babes                                                                                                                   Genre: Wrestlng
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http://ps2,ign.com/articles/434/434421 p Lhtml                                                                                        1Il 7/2006
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     . Sci-Fi Brain
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     . Career Channel by        Most     recent posts on the WWE SmackDown! board:
     Full Sail                  .. _~____.. ._.... .~...~_. ,____._________.. .._....__.....__~."_ ._,_._.~. - ..,........0.'.. ""_-""'_ ..._. ........._,~. ..
                                -- Community Thread --
                                . posted by: Snaaaake-last activity (PST): 1/17 07:59am                                                                                               Compare Prices
                                Which WWE Diva would you love to see in Playboy.
                                - posted by: T12i66iN- last activity (PST): 1/17 07:59am
                                Remember how i complained about this game....
                                - poted by: almattitude_v1-lastactivity (PST): 1/17 07:57am
                                SVR06 Awards
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                Game I
                                 IGN " Sports" Wrestlng
   SECTIONS
                                 WWE Smackdown: Here Come the CAWs                                                                           lars all disc
     . FootbaU
     . Basketball
                                 How to create the Ultimate Warrior, Razor Ramon and more.                                                'Nednes.
                                 by IGN Sports
     . Baseball
                                  November 21, 2003 - The perfect wrestlng game would have every wrestler you've ever
     . Boxing
                                  loved to see work In the ring, from legends like Terry Funk and Ricky Steamboat to newer              ~: J~i; ~j
     . Hockey                    .stars like Y2J and AJ Styles. Well, since nobody wil ever have a game wilh all of those
     . WresUing                   Bcenses, the next best thing is to create these starts yourself.
     . Other                                                                                                                            eg~rn~ c.ng;m;~rrig
                                 Thanks to the readers of IGN Sports, now you have this opportunity.                                          c:pm~'p
     . Play of the Day
     .   News                    Read below to find the menus and formulas to create a variety of past and present stars,
     . Mailbag
                                 then click on the media page to watch a few videos of the wresUers smacking each other
                                 upside the head just like the good old days.
                                                                                                                                            w'roUO\i
     . Message Boards

   CHANNELS                      The Ultimate Warrior
     Insider Members             Contributed by Siavetothemedia
     . Insider Channel
                                 Figure
     . Hi-Res Movies             Body Morph: 0, 100
     . Strategy Guides
                                 Form
     . Join Insider              Head: -25, -27
     Games                       Neck: 43, 50 -38
     . PC Games                  Chest 45, 0 .43
                                 Shoulder: -27, 6516
     , PláySlatlon 2             Abdomen: 32, -2 -10
     . PlaySlation 3             Arms: 39, -7 -5, 2
     'SonyPSP                    Forearms: -12, -6
                                 Hands: 24, 3 -71
     . Xbox                      Waist: 2, 0
     . Xbox360                   Thigh: 18, 10
     . GameCube                  Legs: 0, -15 -13
     . Nintendo OS               Feet: -29,-7
                                 Height: 6'2"
     . Game     Boy
     . Wireless                  Body
                                 Face: 14, 10, (0,0), (0,0), -51
     . N-Gage
                                 Head:     0.0
     , PlaySlation               Eyebrow: 0,0
     .N64                        Eyes: 0,0 0,0
                                 Nose: 0,00,0
     . Oreamcast
                                 Cheek:     0,0
     . PC Downloads              Mouth: 3,40 43
     . Top    Games              Jaw: -10,0 .12
     .YE30                       Skin: 41 Color: -92, .18 Shade: 2
                                 Hair: 35 Color: -85, 9 Shade: 0 Length: 72
     . Vault Network
                                 Eyebrow: 1 Color. -94, 9
     Entertainment               Eyes: 1 Color: 9, 9 Shade: 0
     . Movies                    Facial Hair: N/A
     'DYD
                                 Lips: 1                                                                                          UCI000016
     . Music



http://sports.ign.com/articles/441/441723pl.html                                                                                                10/26/2005
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IGN: WW Srnackdown: Here Come the CAWs                                                                             Page 2 of4
     .   Comics
                          7) Underwear. 1, 1 Color: 26, .24 Shade: -5
     . Gear
    . Sport               8) Head Paint 30 Color: 26, -24 Shade: -50pac: 100
    'Cars                 9) Head Paint: 33 Color: 26, -24 Shade: -5 Opac: 100
                          10) Head Paint: 31 Color: 100, 27 Shade: 11 Opac: 100
    . Babes               11) Head Paint: 32 Color. -73, 9 Shade: 0 Opac: 100
    ',Sci-Fi Brain.
                          12) Simple (Body): 25 Tum: 2x Reduce: 2x Color: -81, 36 Shade: OOpac: 100
    Cheats & Codes
                          13) Simple (Body): 25 Tum: 2x Reduce: 2x Color: 9,44 Shade: 0 Opac: 100
     'PS2 Cheats          14) Simple (Body): 25 Tum: 2x Reduce: 2x Color: 9, 44 Shade: 0 Opac: 100
    . Xbox Cheats         15) Simple (Body): 25 tum: 2x Reduce: 2x Color: -66, 41 Shade: 0 Opac: 100
    . Cube Cheats         16) Simple (Body): 25 Tum: 2x Reduce: 2x Color: -66, 41 Shade: 0 Opac: 100
                          17) Simple (Body): 25 Turn: 2x Reduce: 3x Color: -81, 36 Shade: 0 Opac: 100
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   GET     GAMES
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     'PCGames             18) WristBand (Both): 4, 1 Color: 26, -24 Shade: -5 Trans: 100 Length: 63
     . GBA
                          19) WristBand (Both); 9,1 Color: -85, 33 Shade: 0 Trans: 100 length: 64
                Games
                          20) Shoes: 13, 1, 7 Color: -93, -9
   PARTNERS
     'Dream Crib          21) Knee Pads (Both): 14, 1 Color: 26, -24 Shade: -5 Opac: 100
     , Full Sail Career   22) Simple (Left l,eg): 25 Turn: 2x Reduce: 3x Color: -67, 40 Shade: 0 Opac: 100
     Channel              23) Simple (Left Leg): 25 Turn: 2x Reduce: 2x Color: -85, 32 Shade: 0 Opac: 100
                          24) Simple (Right Leg): 25 Tum: 2x Reduce: 3x Color: -67, 40 Shade: 0 Opac: 100
                          25) Simple (Right Leg): 25 Tum: 2x Reduce: 2x Color: -85, 32 Shade: 0 Opac: 100

                          26) Simple (Right Arm): 145 Turn: 2x Reduce: Ox Color: 28, 37 Shade: 0 Opac: 100
                          27) Simple (Right Arm): 145 Turn: 2x Reduce: Ox Color: 28, 37 Shade: 0 Opac: 100
                          28) Simple (Left Arm): 145 Turn: 2x Reduce: Ox Color: 28, 37 Shade: 0 Opac: 100
                          29) Simple (Left Arm): 145 Turn: 2x Reduce: Ox Color: 28, 37 Shade: 0 Opac: 100

                          Layers: 8-10 Warrior Face-Paint
                          12-17 Warrior Emblems on Trunks
                          18-19 Wrist Bands
                          20 Shoes
                          21 Knee Pads
                          22-25 Warrior Emblem Knee Pads
                          26-29 Bicep Ties




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                           Once you've created the Warrir, head into move sets and took for OUW (Old Ultimate
                           Warror). It's one of the unloable move sets, but it prett much has all of the moves you
                           remember.
                           1 t 2 t 31 41 Next Page ;,;:




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       http://sports.ign.comlaricles/44l/441723pL.html?fromint= 1
       WWE Smackdown: Here Come the CAWs
       November 21,2003 - The perfect wrestling game would have every wrestler you've ever loved to
       see work in the ring, from legends like Terry Funk and Ricky Steamboat 10 newer stars like Y2J
       and AJ Styles. Well, since nobody wil ever have a game with all of those licenses, the next best
       thing is to create these starts yourself.

       Thanks to the readers of IGN Sports, now you have this opportunity.

       Read below to find the menus and formulas to create a variety of past and present stars, then
       click on the media page to watch a few videos of the wrestlers smacking each other upside the
       head just like the good old days:

       The Ultimate Warrior
       Contributed by Slavetothemedia

       Figure
       Body Morph: O. 100

       Form
       Head: -25, -27
       Neck: 43, 50 -38
       Chest: 45, 0 -43
       Shoulder: -27, 6516
       Abdomen: 32, -2 -10
       Arms: 39, -7 -5, 2
       Forearms: -12,-6
       Hands: 24, 3 -71
       Waist: 2, 0
       Thigh: 18, 10
       Legs: O. -15 -13
       Feet: -29, -7
       Height: 6'2"

       Body
       Face: 14, 10, (0,0), (0,0), -51
       Head: 0,0
       Eyebrow: 0,0
       Eyes: 0,0 0,0
       Nose: 0,0 0,0
       Cheek: 0,0
       Mouth: 3,4043
       Jaw: -10,0 -12
       Skin: 41 Color: -92, -18 Shade: 2
       Hair: 35 Color: -85, 9 Shade: 0 Length: 72
       Eyebrow: 1 Color: -94, 9
       Eyes: 1 Color: 9, 9 Shade: 0
       Facial Hair: N/A
       Lips: 1


       Layers

       7) Underwear: 1, 1 Color: 26, -24 Shade: .5




                                                                                                  UCI000020
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1.



       8) Head Paint: 30 Color: 26, -24 Shade: -50pac: 100
       9) Head Paint: 33 Color: 26, -24 Shade: -50pac: 100
       10) Head Paint: 31 Color: 100,27 Shade: 11 Opac: 100
       11) Head Paint: 32 Color: -73, 9 Shade: 0 Opac: 100

       12) Simple (Body): 25 Turn: 2x Reduce: 2x Color: -81, 36 Shade: 0 Dpac: 100
       13) Simple (Body): 25 Turn: 2x Reduce: 2x Color: 9, 44 Shade: 0 Opac: 100
       14) Simple (Body): 25 Turn: 2x Reduce: 2x Color: 9, 44 Shade: 0 Opac: 100
       15) Simple (Body): 25 turn: 2x Reduce: 2x Color: -66,41 Shade: 0 Dpac: 100
       16) Simple (Body): 25 Tum: 2x Reduce: 2x Color: -66, 41 Shade: 0 Dpac: 100
       17) Simple (Body): 25 Turn: 2x Reduce: 3x Color: -81,36 Shade: 0 Opac: 100

       18) WristBand (Both): 4, 1 Color: 26, -24 Shade: -5 Trans: 100 Length: 63
       19) WristBand (Both); 9, 1 Color: -85, 33 Shade: 0 Trans: 100 Length: 64

       20) Shoes: 13. 1, 7 Color:-93, -9

       21) Knee Pads (Both): 14, 1 Color: 26, -24 Shade: -5 Opac: 100

       22) Simple (Left Leg): 25 Turn: 2x Reduce: 3x Color: -67, 40 Shade: 0 Opac: 100
       23) Simple (Left Leg): 25 Turn: 2x Reduce: 2x Color: -85, 32 Shade: 0 Opac: 100
       24) Simple (Right Leg): 25 Turn: 2x Reduce: 3x Color: -67, 40 Shade: OOpac: 100
       25) Simple (Right Leg): 25.Turn: 2x Reduce: 2x Color: -85,32 Shade: 0 Opac: 100

       26) Simple (Right Ar): 145 Turn: 2x Reduce: Ox Color: 28, 37 Shade: 0 Opac: 100
       27) Simple (Right Ar): 145 Turn: 2x Reduce: Ox Cotor: 28, 37 Shade: OOpac: 100
       28) Simple (Left Arm): 145 Tum: 2x Reduce: Ox Color: 28, 37 Shade: OOpac: 100
       29) Simple (Left Arm): 145 Turn: 2x Reduce: Ox Color: 28, 37 Shade: OOpac: 100

       Layers: 8-10 Warrior Face-Paint
       12-17 Warrior Emblems on Trunks
       18-19 Wrist Bands
       20 Shoes
       21 Knee Pads
       22-25 Warrior Emblem Knee Pads
       26-29 Bicep Ties

       Once you've created the Warrior, Mad into move sets and look for OUW (Old Ultmate Warrior).
       It's one of the unlockable move sets, but it pretty much has all of the moves you remember.




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